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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA


 COMMITTEE ON WAYS AND MEANS, U.S.
 HOUSE OF REPRESENTATIVES,

                           Plaintiff,
                                                           Case No. 1:19-cv-01974 (TNM)
                           v.

 U.S. DEPARTMENT OF THE TREASURY, et
 al.,

                           Defendants.


                                                 ORDER

        The Court has considered the Unopposed Motion to Intervene filed by Donald J. Trump, The

Donald J. Trump Revocable Trust, DJT Holdings LLC, DJT Holdings Managing Member LLC, DTTM

Operations LLC, DTTM Operations Managing Member Corp, LFB Acquisition Member Corp., LFB

Acquisition LLC, and Lamington Farm Club, LLC d/b/a Trump National Golf Club-Bedminster. ECF

No. 12. It is hereby

        ORDERED that the motion is granted. The Clerk of Court shall add the movants as Intervenor-

Defendants to the case. It is further

        ORDERED that the Intervenor-Defendants shall strictly abide by the Court’s Standing Order,

ECF No. 2. It is further

        ORDERED that, before filing any motion or responsive brief, the Defendant-Intervenors shall

meet and confer with the Defendants to determine whether their position may be set forth in a

consolidated manner. Any separate filings by the Intervenor-Defendants shall include a certificate of

compliance with this requirement and shall briefly describe the need for separate filings.

        SO ORDERED.
                                                                                2019.07.18
                                                                                12:11:38 -04'00'
Dated: July 18, 2019                                      TREVOR N. McFADDEN
                                                          United States District Judge
